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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

     MICHAEL LEAL
                                                        Case No.: 1:22-cv-00150-MRB-KLL
                         Plaintiff,
                 v.                                     Judge Michael R. Barrett
     FELICIA BEDEL
                                                        Magistrate Judge Karen L. Litkovitz
                         Defendants.

                          ANSWER OF DEFENDANT CHELSEA STAEDTER

        Defendant Chelsea Staedter respectfully submits this answer to the Complaint.

                                              PARTIES

1.      Defendant Staedter lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 1.

2.      Defendant Staedter lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 2.

3.      Defendant Staedter lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 3.

4.      Defendant Staedter admits she was a resident of California at all times relevant to the

        Complaint, that she was in a romantic relationship with Plaintiff in 2020, that she works

        in the bodybuilding industry, and that she has an online presence. Defendant Staedter

        lacks knowledge or information sufficient to form a belief about the truth of the

        remaining allegations in Paragraph 4.

5.      Defendant Staedter lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 5.
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                               JURISDICTION AND VENUE

6.    Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 6.

7.    Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 7.

                                FACTUAL BACKGROUND

8.    Defendant Staedter denies the allegations in Paragraph 8.

9.    Defendant Staedter denies that Plaintiff never physically abused Cammie, and

      affirmatively states that Plaintiff admitted to her that he repeatedly hit Cammie.

      Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the remaining allegations in Paragraph 9.

10.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 10.

11.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 11.

12.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 12.

13.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 13.

14.   Defendant Staedter admits Plaintiff had substance-abuse issues. Defendant Staedter lacks

      knowledge or information sufficient to form a belief about the truth of the remaining

      allegations in Paragraph 14.

15.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 15.


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16.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 16.

17.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 17.

18.   Defendant Staedter admits that she dated Plaintiff and that she worked in the

      bodybuilding industry. Defendant Staedter denies the remaining allegations in Paragraph

      18.

19.   Defendant Staedter admits that she acknowledged responsibility for Plaintiff’s STD based

      on his misrepresentations about his sexual history, that she apologized to avoid conflict,

      and that she now knows she is very unlikely to have been the source of Plaintiff’s STD.

      Defendant Staedter denies the remaining allegations in Paragraph 19.

20.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 20.

21.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 21.

22.   Defendant Staedter denies the allegations in Paragraph 22.

23.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 23.

24.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 24.

25.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 25.

26.   Defendant Staedter denies the allegations in Paragraph 26.




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27.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 27.

28.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 28.

29.   Defendant Staedter denies the allegations in Paragraph 29.

30.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 30.

31.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 31.

32.   Defendant Staedter denies the allegations in Paragraph 32.

33.   Defendant Staedter denies the allegations in Paragraph 33.

34.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 34.

35.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 35.

36.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 36.

37.   Defendant Staedter denies the allegations in Paragraph 37.

38.   Defendant Staedter denies the allegations in Paragraph 38.

39.   Defendant Staedter denies the allegations in Paragraph 39.

40.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 40.




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41.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 41.

42.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 42.

43.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 43.

                     COUNT I (DEFAMATION - LIBEL AND LIBEL PER SE)

44.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

45.   Defendant Staedter denies the allegations in Paragraph 45.

46.   Defendant Staedter denies the allegations in Paragraph 46.

47.   Defendant Staedter denies the allegations in Paragraph 47.

48.   Defendant Staedter denies the allegations in Paragraph 48.

49.   Defendant Staedter denies the allegations in Paragraph 49.

50.   Defendant Staedter denies the allegations in Paragraph 50.

51.   Defendant Staedter denies the allegations in Paragraph 51.

52.   Defendant Staedter denies the allegations in Paragraph 52.

53.   Defendant Staedter denies the allegations in Paragraph 53.

                                  COUNT II (FALSE LIGHT)

54.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

55.   Defendant Staedter denies the allegations in Paragraph 55.

56.   Defendant Staedter denies the allegations in Paragraph 56.

57.   Defendant Staedter denies the allegations in Paragraph 57.


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58.   Defendant Staedter denies the allegations in Paragraph 58.

59.   Defendant Staedter denies the allegations in Paragraph 59.

                COUNT III (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)

60.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

61.   Defendant Staedter denies the allegations in Paragraph 61.

62.   Defendant Staedter denies the allegations in Paragraph 62.

63.   Defendant Staedter denies the allegations in Paragraph 63.

         COUNT IV (TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS)

64.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

65.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 65.

66.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 66.

67.   Defendant Staedter denies the allegations in Paragraph 67.

68.   Defendant Staedter denies the allegations in Paragraph 68.

 COUNT V (INVASION OF PRIVACY - PUBLIC DISCLOSURE OF PRIVATE FACTS - DEFENDANT
                                    KERNS)

69.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

70.   Defendant Staedter denies the allegations in Paragraph 70.

71.   Defendant Staedter denies the allegations in Paragraph 71.

72.   Defendant Staedter denies the allegations in Paragraph 72.



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73.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 73.

74.   Defendant Staedter denies the allegations in Paragraph 74.

75.   Defendant Staedter denies the allegations in Paragraph 75.

                 COUNT VI (BREACH OF CONTRACT – DEFENDANT LEAL)

76.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

77.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 77.

78.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 78.

79.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 79.

80.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 80.

81.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 81.

82.   Defendant Staedter lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 82.

                              COUNT VII (CIVIL CONSPIRACY)

83.   Defendant Staedter incorporates every answer set forth above as though fully set forth

      herein.

84.   Defendant Staedter denies the allegations in Paragraph 84.

85.   Defendant Staedter denies the allegations in Paragraph 85.


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86.    Defendant Staedter denies the allegations in Paragraph 86.

87.    Defendant Staedter denies the allegations in Paragraph 87.

                                    AFFIRMATIVE DEFENSES

       Defendant asserts the following affirmative defenses:

 1.     Plaintiff’s claims are barred by the statute of limitations.

 2.     Plaintiff’s claims are barred by laches.

 3.     Plaintiff’s claims are barred by estoppel.

 4.     Plaintiff’s claims are barred by the doctrine of unclean hands.

 5.     Plaintiff’s claims are barred by his assumption of risk by posting publicly on social

        media.

 6.     Plaintiff’s claims are barred by his consent to posting publicly on social media.

 7.     Plaintiff’s claims are barred by his contributory negligence.

 8.     Plaintiff’s claims are barred by failure to state a claim upon which relief can be granted.

 9.     Plaintiff’s claims are barred by failure to mitigate damages.

 10.    Plaintiff’s claims are barred by failure to join a necessary party.

 11.    Plaintiff’s claims are barred by privilege.

 12.    Plaintiff’s claims are barred by immunity.

 13.    Plaintiff’s claims are barred by the single publication rule.

 14.    Plaintiff’s claims are barred because the alleged statements by Ms. Staedter were

        opinion.

 15.    Plaintiff’s claims are barred because the alleged statements by Ms. Staedter were not

        false.

 16.    Plaintiff’s claims are barred because the alleged statements by Ms. Staedter were made

        in good faith.


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17.    Plaintiff’s claims are barred because the alleged statements by Ms. Staedter were

       protected by the First Amendment.

18.    Plaintiff’s claims are barred because the alleged statements by Ms. Staedter were

       protected by the Noerr-Pennington doctrine.

19.    Plaintiff’s claims are barred by Cal. Code. Civ. Proc. § 425.16.

20.    The Court lacks jurisdiction over these claims.

21.    The Court lacks jurisdiction over Defendants.

22.    The Court is not a proper venue for this action.

                                        JURY DEMAND

      Ms. Staedter demands a trial by jury on all issues within the complaint.

                                                   Respectfully submitted,

                                                   /s/Brian D. Bardwell
                                                   Brian D. Bardwell (0098423)
                                                   Speech Law, LLC
                                                   1265 West Sixth Street, Suite 400
                                                   Cleveland, OH 44113-1326
                                                   216-912-2195 Phone/Fax
                                                   brian.bardwell@speech.law

                                                   Attorney for Defendant Chelsea Staedter




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